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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


   EXPRESS HOMEBUYERS USA,LLC,                           )
        Plaintiff,                                       )
                                                         )
                  V.                                     )      Civil Action No. l:17-cv-00736
                                                         )
   WBH MARKETING,INC.,                                   )
       Defendant.                                        )
                                                         )
                                                         )

                                   MEMORANDUM OPINION


         Plaintiff, a Virginia company engaged in the homebuying business, prevailed in the

  underlying trademark action, and has now filed a motion seeking attorney's fees pursuant to 15

  U.S.C. § 1117(a). At issue, post-summary judgment,is whether, as plaintiff contends, this case is

  an "exceptional case" and thus warrants the award offees under § 1117(a)ofthe Lanham Act. For

  the reasons stated below, plaintiff has not shown that defendant's positions in this litigation were

  objectively unreasonable, nor that there is a need in this particular case to grant an award of fees

  in order to advance considerations of compensation and deterrence, nor that this case is otherwise

  "exceptional." Accordingly, plaintiffs motion must be denied.

                                                   I.


         On June 28, 2017, plaintiff filed a complaint pursuant to 15 U.S.C. § 1064 seeking

  cancellation   of defendant's      two    registered   trademarks, "We       Buy    Houses"     and

  "webuyhouses.com." As is typical in trademark cases, there was in this case a threshold motion to

  dismiss that was briefed, argued and resolved, followed by the filing of an answer that included,

  as is also not atypical in trademark cases, various counterclaims. The parties then engaged in

  discovery,in which various depositions were taken but neither party sought leave to take additional

  depositions beyond the number permitted by Rule 30, Fed. R. Civ. P., and Local Rule 30, Local

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